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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


ADRIAN CALISTE ET AL                                                        CIVIL ACTION

VERSUS                                                                      NO. 17-6197

HARRY E. CANTRELL                                                           SECTION "L" (5)



                                            ORDER

       Pursuant to the United States District Court for the Eastern District of Louisiana’s General

Order 20-02 issued on March 16, 2020,

       IT IS ORDERED that the upcoming telephone status conference, scheduled for

Wednesday, April 1, 2020 at 1:30 p.m., will proceed as scheduled. Parties are instructed to use the

following dial-in information to participate and are expected to be on the call five minutes before

the scheduled start time.

       Dial-in #:      (877) 336-1839

       Access Code: 4227405

       New Orleans, Louisiana this 17th day of March, 2020.


                                                                   ________________________
                                                                         Eldon E. Fallon
                                                                    United States District Judge
